Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 1 of 47




          Exhibit E-1
                              Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 2 of 47

                                                         PerDiemCo LLC v. NexTraq.
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 10,602,364


        This claim chart demonstrates NexTraq’s infringement and provides notice of such infringement, by comparing each element of the asserted
claims to corresponding components, aspects, and/or features of the Accused Instrumentalities. These claim charts are not intended to constitute an
expert report on infringement. These claim charts include information provided by way of example, and not by way of limitation.
     For the sake of comprehensiveness, this analysis incorporates the entirety of infringement contentions served by PerdiemCo on
NexTraq with respect to other patents-in-suit in this litigation.
      “Accused Instrumentalities” as used herein refers to herein provide event based notifications/alerts based on locations of fleets of vehicles,
equipment, objects, drivers, and other assets equipped with sensors or tags (the Assets).
       1. NexTraq offers the following tracking products and services (the Accused Instrumentalities), including but not limited to NexTraq® Fleet

Tracking solution (https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf), which provides data to

NexTraq® Web Services (http://www.discretewireless.com/resources/APIReference.pdf) for use in various platforms and solutions that support:


               (a)    NexTraq®’s Fleet Visibility and Productivity products, services and solutions which are used for vehicle tracking

                      (https://www.nextraq.com/services/vehicle-tracking/), asset tracking https://www.nextraq.com/services/asset-tracking/), geo-

                      fencing and mapping (https://www.nextraq.com/services/geofencing-mapping/), real-time alerts

                      (https://www.nextraq.com/services/real-time-alerts/), sensors (https://www.nextraq.com/services/sensors/) and integration with

                      third party platforms, solutions and/or applications (https://www.nextraq.com/services/integration/);

               (b)    NexTraq® View™ and NexTraq® Connect™ mobile apps which are used by mobile work force

                      (https://www.nextraq.com/services/mobile-apps/);




                                                                           1

                                                                                                                                         Exhibit E-1
                                                                                                                                        Page 1 of 46
                             Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 3 of 47

                                                         PerDiemCo LLC v. NexTraq.
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 10,602,364
               (c)    NexTraq® Fleet Defender (https://www.nextraq.com/services/fleet-defender/) and NexTraq® Dashcam™

                      (https://www.nextraq.com/services/dashcam/) which are used for drive safety;


               (d)    NexTraq® Driver ID, which is used for Automatic Driver Assignment (https://www.nextraq.com/services/automatic-driver-

                      assignment/)



                                     NexTraq “Mobile Tracking Devices” and/or “Mobile Devices” means:

       The Accused Instrumentalities track the Assets, which are attached to or carried by mobile devices, including but not limited to:

               1-Vehicle Trackers Family of products (e.g., VT-2300, VT-3030, VT-2630, VT-3640)

               2-Asset Trackers Family of products (e.g., AT-730, AT-5100)

               3-Trailer Trackers (e.g., TT-2830)

               4-GPS Tracking Devices (e.g., LMU26H201-NXT01)

               5-Other GPS and sensor, e.g., temperature sensor, equipped mobile devices.

        The analysis set forth below is based only upon information from publicly available resources regarding the Infringing Instrumentalities. An
analysis of NexTraq’s (or other third parties’) technical documentation, and/or software source code, may assist in fully identifying all infringing
features and functionality. Accordingly, PerDiemCo reserves the right to supplement this infringement analysis once such information is made
available to PerDiemCo. Furthermore, PerDiemCo reserves the right to revise this infringement analysis, as appropriate, upon issuance of a court
order construing any terms recited in the asserted claim.
        Unless otherwise noted, PerDiemCo alleges that NexTraq directly infringes the ’364 patent in violation of 35 U.S.C. § 271(a) by selling,
offering to sell, making, using, and/or importing the Infringing Instrumentalities. The following exemplary analysis demonstrates that infringement.
Unless otherwise noted, PerDiemCo further contends that the evidence below supports a finding of indirect or contributory infringement under 35
U.S.C. §§ 271(b) and/or (c), in conjunction with other evidence of liability under one or more of those subsections. NexTraq makes, uses, sells,
                                                                          2

                                                                                                                                       Exhibit E-1
                                                                                                                                      Page 2 of 46
                               Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 4 of 47

                                                                PerDiemCo LLC v. NexTraq.
                                             PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                                 U.S. Patent No. 10,602,364
imports, or offers for sale in the United States, or has made, used, sold, imported, or offered for sale in the past, without authority, or induces others
to make, use, sell, import, or offer for sale in the United States, or has induced others to make, use, sell, import, or offer for sale in the past, without
authority products, equipment, or services that infringe claims the ’364 patent, including without limitation, the Accused Instrumentalities.
        Unless otherwise noted, PerDiemCo alleges that each element of each claim asserted herein is literally met through NexTraq’s provision of
the Accused Instrumentalities. However, to the extent that NexTraq attempts to allege that any asserted claim element is not literally met,
PerDiemCo believes and contends that such elements are met under the doctrine of equivalents. More specifically, in its investigation and analysis of
the Infringing Instrumentalities, PerDiemCo did not identify any substantial differences between the elements of the patent claim and the
corresponding features of the Infringing Instrumentalities, as set forth herein. In each instance, the identified feature of the Infringing
Instrumentalities performs at least substantially the same function in substantially the same way to achieve substantially the same result as the
corresponding claim element.
        To the extent the chart of an asserted claim relies on evidence about certain specifically identified Accused Instrumentalities, PerDiemCo
asserts that, on information and belief, any similarly functioning instrumentalities also infringes the charted claim. PerDiemCo reserves the right to
amend this infringement analysis based on other products made, used, sold, imported, or offered for sale by NexTraq. PerDiemCo also reserves the
right to amend this infringement analysis by citing other claims of the ’364 patent, not listed in the claim chart, that are infringed by the Accused
Instrumentalities. PerDiemCo further reserves the right to amend this infringement analysis by adding, subtracting, or otherwise modifying content
in the “Accused Instrumentalities” column of each chart.



 Claim        US Patent        Description of the Infringement
             10,602,364
  3-p     A method used        NexTraq Fleet Tracking platform is a cloud-based solution for tracking assets using a standard Internet connection. On
          by a tracking        information and belief, the Accused Instrumentalities use applications, storage, on-demand services, computer networks,
          service that         including servers and databases or other resources that are accessed with the Internet connection through on-premise or
          tracks locations     another provider's shared cloud computing framework, including servers and databases administered by third parties.
          of mobile objects    On information and belief, the Accused Instrumentalities use an access identity and management (IAM) services to
          for controlling      securely control access to S resources used by NexTraq’s cloud-based solution. More specifically, the Accused
          conveyance of        Instrumentalities use the IAM to control who is authenticated (signed in) and authorized (has permissions) to use the
          event                resources
          notifications that
          are conveyed to
          authorized users
                                                                              3

                                                                                                                                               Exhibit E-1
                                                                                                                                              Page 3 of 46
                           Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 5 of 47

                                                          PerDiemCo LLC v. NexTraq.
                                        PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                            U.S. Patent No. 10,602,364
Claim        US Patent      Description of the Infringement
            10,602,364
        of the tracking
        service based on
        mobile object
        locations,
        the authorized
        users having
        authorized user
        accounts used in
        a tracking
        application
        software of the
        tracking service
        that when
        executed in one
        or more
        computing           (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)
        devices
        comprising one
        or more servers
        is configurable
        to track the
        mobile object
        locations for
        determining
        occurrences of
        events that meet
        event conditions
                            (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)
        related to the
        locations of the
        mobile objects,
        more computing
        devices
                                                                          4

                                                                                                     Exhibit E-1
                                                                                                    Page 4 of 46
                            Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 6 of 47

                                                           PerDiemCo LLC v. NexTraq.
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                             U.S. Patent No. 10,602,364
Claim        US Patent       Description of the Infringement
            10,602,364
        comprising one
        or more servers
        is configurable
        to track the
        mobile object
        locations for
        determining
        occurrences of
        events that meet     (Source: Page No. 4 of https://www.infotelligent.com/company/verizon-networkfleet/company/3485751 )
        event conditions
        related to the       On information and belief, the Accused Instrumentalities currently use NexTraq’s tracking applications executed by
        locations of the     servers of a database management system (DBMS) constituting DBMS Applications (DBMSAs), including NexTraq®
        mobile objects       Fleet Tracking applications (the Accused Applications), which rely on managed database services used in an on-premise
        wherein the          data warehouse solution.
        locations of the
        mobile objects       On information and belief, NexTraq is re-platforming its Fleet Tracking platform so that the Accused Instrumentalities
        are determined       would transition to using AWS native services such as AWS Relational Database Service (RDS), a managed database
        based on             service provided by AWS databases (DB) and AWS Redshift, Oracle, MS SQL, etc.
        information
        received from
        wireless location
        information
        sources (LISs),
        the method
        comprising:




                                                                           5

                                                                                                                                    Exhibit E-1
                                                                                                                                   Page 5 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 7 of 47

                                                    PerDiemCo LLC v. NexTraq.
                                  PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 10,602,364
Claim   US Patent     Description of the Infringement
        10,602,364




                      (Source: Page No. 1 of https://employzone.com/job-view/us-ga-atlanta/cloud-data-
                      engineer/dayforcehcm/9505416277?ez_source=alert&ez_campaign=daily-alert&ez_medium=azcs)
                      ---------------------------------------------------------------------------------------------------------------------------------------------


                                                                            6

                                                                                                                                                  Exhibit E-1
                                                                                                                                                 Page 6 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 8 of 47

                                                    PerDiemCo LLC v. NexTraq.
                                  PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 10,602,364
Claim   US Patent     Description of the Infringement
        10,602,364
                      ---------------------------------------------------------------------------------------------------------------------------------------------
                      As provider of the above tracking services, NexTraq (or one or more administrators employed by NexTraq) use first
                      level of administrative privileges for tracking locations of a plurality of mobile objects/assets/vehicles identified by
                      object IDs (OIDs), which are associated with tracking devices/mobile units.

                                                                     First Level of Administrative Privileges




                      (Source: Page No. 1 of https://www.nextraq.com/terms-and-conditions/ )




                      (Source: Page No. 199 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                      ---------------------------------------------------------------------------------------------------------------------------------------------
                      The Accused Instrumentalities track locations of mobile objects.

                                                              Mobile Objects/Assets/Vehicles identified by OIDs


                                                                            7

                                                                                                                                                  Exhibit E-1
                                                                                                                                                 Page 7 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 9 of 47

                                                    PerDiemCo LLC v. NexTraq.
                                  PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 10,602,364
Claim   US Patent     Description of the Infringement
        10,602,364




                      (Source: Page No. 3 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)

                      The mobile objects/assets/vehicles are associated with mobile tracking devices/mobile devices identified by Hardware
                      Ids that provide mobile object locations using wireless GPS location information sources.




                                                                  8

                                                                                                                            Exhibit E-1
                                                                                                                           Page 8 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 10 of 47

                                                     PerDiemCo LLC v. NexTraq.
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,602,364
Claim   US Patent      Description of the Infringement
        10,602,364




                       (Source: Page No. 182 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 182 of http://www.alltrackusa.com/RTH_user_guide.pdf)

                                                   Mobile Devices Equipped with Location Information Sources
                       1-Vehicle Trackers Family of products (e.g., VT-2300, VT-3030, VT-2630, VT-3640)
                       2-Asset Trackers Family of products (e.g., AT-730, AT-5100)
                                                                    9

                                                                                                                Exhibit E-1
                                                                                                               Page 9 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 11 of 47

                                                     PerDiemCo LLC v. NexTraq.
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,602,364
Claim   US Patent      Description of the Infringement
        10,602,364
                       3-Trailer Trackers (e.g., TT-2830)
                       4-GPS Tracking Devices (e.g., LMU26H201-NXT01)




                       (Source: Page No. 27 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 1 of https://www.nextraq.com/resource/hvac-companies-win-with-gps-fleet-management/ )




                       (Source: Page No. 2 of https://www.nextraq.com/services/vehicle-tracking/ )




                                                                      10

                                                                                                                                   Exhibit E-1
                                                                                                                                 Page 10 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 12 of 47

                                                     PerDiemCo LLC v. NexTraq.
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,602,364
Claim   US Patent      Description of the Infringement
        10,602,364




                       (Source: Page No. 3 of https://www.nextraq.com/services/vehicle-tracking/ )




                       (Source: Page No. 2 of https://www.nextraq.com/services/vehicle-tracking/ )



                                                                      11

                                                                                                       Exhibit E-1
                                                                                                     Page 11 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 13 of 47

                                                     PerDiemCo LLC v. NexTraq.
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,602,364
Claim   US Patent      Description of the Infringement
        10,602,364




                       (Source: Page No. 1 of https://www.ebay.com/itm/272838073110)




                       (Source: Page No. 1 of https://www.nextraq.com/services/asset-tracking/)




                       (Source: Page No. 2 of https://www.nextraq.com/services/asset-tracking/)


                                                                      12

                                                                                                    Exhibit E-1
                                                                                                  Page 12 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 14 of 47

                                                     PerDiemCo LLC v. NexTraq.
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,602,364
Claim   US Patent      Description of the Infringement
        10,602,364




                       (Source: Page No. 2 of https://www.nextraq.com/services/asset-tracking/)




                       (Source: Page No. 3 of https://www.nextraq.com/services/asset-tracking/)




                                                                      13

                                                                                                    Exhibit E-1
                                                                                                  Page 13 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 15 of 47

                                                     PerDiemCo LLC v. NexTraq.
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,602,364
Claim   US Patent      Description of the Infringement
        10,602,364
                       (Source: Page No. 1 of https://www.ebay.com/itm/174395543130?chn=ps&norover=1&mkevt=1&mkrid=711-213727-13078-
                       0&mkcid=2&itemid=174395543130&targetid=4580359295528874&device=c&mktype=&googleloc=&poi=&campaignid=437
                       225724&mkgroupid=1228154759183859&rlsatarget=pla-
                       4580359295528874&abcId=9300907&merchantid=51291&msclkid=ac556c89a9351a832f4c0fa25eb06e08 )
                       ---------------------------------------------------------------------------------------------------------------------------------------------
                                                                 Mobile Devices identified by Device IDs (DIDs)

                       The mobile devices are identified by Hardware IDs.




                       (Source: Page No. 2 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




                       (Source: Page No. 182 of http://www.alltrackusa.com/RTH_user_guide.pdf)

                                                                            14

                                                                                                                                                  Exhibit E-1
                                                                                                                                                Page 14 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 16 of 47

                                                     PerDiemCo LLC v. NexTraq.
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,602,364
Claim   US Patent      Description of the Infringement
        10,602,364
                       ---------------------------------------------------------------------------------------------------------------------------------------------
                       The tracking service provided by the Accused Instrumentalities is used for controlling conveyance of event
                       notifications, i.e., alerts.
                                                                               Event Notifications/Alerts




                       (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                                                                            15

                                                                                                                                                  Exhibit E-1
                                                                                                                                                Page 15 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 17 of 47

                                                     PerDiemCo LLC v. NexTraq.
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,602,364
Claim   US Patent      Description of the Infringement
        10,602,364




                       (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




                                                                   16

                                                                                                                             Exhibit E-1
                                                                                                                           Page 16 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 18 of 47

                                                     PerDiemCo LLC v. NexTraq.
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,602,364
Claim   US Patent      Description of the Infringement
        10,602,364




                       (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)
                                                                   17

                                                                                                                             Exhibit E-1
                                                                                                                           Page 17 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 19 of 47

                                                     PerDiemCo LLC v. NexTraq.
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,602,364
Claim   US Patent      Description of the Infringement
        10,602,364




                       (Source: Page No. 1 of https://www.nextraq.com/services/geofencing-mapping/)
                       --------------------------------------------------------------------------------------------------------------------------------------------
                       The event notifications (i.e., alerts) are conveyed to authorized users of the tracking service.
                                                                      Authorized users identified by user IDs




                       (Source: Page No. 207 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                                                                            18

                                                                                                                                                  Exhibit E-1
                                                                                                                                                Page 18 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 20 of 47

                                                     PerDiemCo LLC v. NexTraq.
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,602,364
Claim   US Patent      Description of the Infringement
        10,602,364




                       (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                                                                    19

                                                                                                   Exhibit E-1
                                                                                                 Page 19 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 21 of 47

                                                     PerDiemCo LLC v. NexTraq.
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,602,364
Claim   US Patent      Description of the Infringement
        10,602,364
                       (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                       --------------------------------------------------------------------------------------------------------------------------------------------
                       The authorized users have authorized user accounts served by the Accused Instrumentalities when Accused Applications
                       are executed in one or more computing devices comprising servers.

                                                                                Authorized user accounts




                       (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                                                                           20

                                                                                                                                               Exhibit E-1
                                                                                                                                             Page 20 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 22 of 47

                                                     PerDiemCo LLC v. NexTraq.
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,602,364
Claim   US Patent      Description of the Infringement
        10,602,364




                       (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                       ---------------------------------------------------------------------------------------------------------------------------------------------
                       The servers are configurable to track the mobile object locations for determining occurrences of events that meet event
                       conditions related to the locations of the mobile objects, such as arrivals and departures.

                                                                                    Event Condition




                                                                           21

                                                                                                                                                 Exhibit E-1
                                                                                                                                               Page 21 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 23 of 47

                                                     PerDiemCo LLC v. NexTraq.
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,602,364
Claim   US Patent      Description of the Infringement
        10,602,364




                       (Source: Page No. 1 of https://www.nextraq.com/services/geofencing-mapping/)




                       (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                       ---------------------------------------------------------------------------------------------------------------------------------------------
                       Locations of the mobile objects are determined based on information received from wireless GPS location information
                       sources (LISs).




                                                                           22

                                                                                                                                                Exhibit E-1
                                                                                                                                              Page 22 of 46
                        Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 24 of 47

                                                          PerDiemCo LLC v. NexTraq.
                                        PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                            U.S. Patent No. 10,602,364
Claim      US Patent        Description of the Infringement
           10,602,364




                            (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)
 3-a    using a first       See 3-p for the tracking service, first administrator, first level of administrative privilege, mobile objects, event
        computing           notifications, authorized users, mobile object locations, authorized user accounts, tracking application software, one or
        device in a first   more computing devices, one or more servers, events, event condition, locations of the mobile objects, and wireless
        network of          location information sources (LISs).
        computing
        devices to cause    NexTraq (or an administrator employed by NexTraq) is identified by an administrator ID code (AID code) to administer
        transmission of a   NexTraq’s network of computing devices, which is a first network of computing devices administered under NexTraq’s
        request to          first level of administrative privilege for performing one or more first administrative functions using the Accused
        exercise a first    Applications to provide corresponding services by the Accused Instrumentalities.
        level of
        administrative
        privilege given
        to a first
        administrator of
        the tracking
                                                                         23

                                                                                                                                    Exhibit E-1
                                                                                                                                  Page 23 of 46
                             Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 25 of 47

                                                             PerDiemCo LLC v. NexTraq.
                                           PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                               U.S. Patent No. 10,602,364
Claim       US Patent          Description of the Infringement
            10,602,364
        service for
        performing one
        or more first
        administrative
        functions using
        the tracking
        application
        software, which
        configures the
        one or more
        servers to
        determine
        whether the
        event conditions
        are met before
        conveying the          (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)
        event
        notifications, the
        request
        containing a first
        administrator ID
        of the first
        administrator;         (Source: Page No. 1 of https://www.nextraq.com/resource/hvac-companies-win-with-gps-fleet-management/ )
                               The Accused Applications configure the servers used in an on-premise data warehouse or AWS to determine whether
                               the event conditions, such as arrivals/departures, are met before conveying the event notifications, i.e., alerts.
                               A computing device in NexTraq’s Network, i.e., a first computing device a first network of computing devices, transmits
                               an authentication request containing the AID code for using the IAM, e.g., AWS IAM, to exercise the first level of
                               administrative privilege.




                                                                            24

                                                                                                                                           Exhibit E-1
                                                                                                                                         Page 24 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 26 of 47

                                                     PerDiemCo LLC v. NexTraq.
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,602,364
Claim   US Patent      Description of the Infringement
        10,602,364




                       (Source: Page No. 4 of https://www.infotelligent.com/company/verizon-networkfleet/company/3485751 )




                                                                    25

                                                                                                                               Exhibit E-1
                                                                                                                             Page 25 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 27 of 47

                                                     PerDiemCo LLC v. NexTraq.
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,602,364
Claim   US Patent      Description of the Infringement
        10,602,364




                       (Source: Page No. 1 of
                       https://signin.aws.amazon.com/signin?redirect_uri=https%3A%2F%2Faws.amazon.com%2Fmarketplace%2Fmanagement%2Fs
                       ignin%3Fstate%3DhashArgs%2523%26isauthcode%3Dtrue&client_id=arn%3Aaws%3Aiam%3A%3A015428540659%3Auser%
                       2Faws-mp-seller-management-
                       portal&forceMobileApp=0&code_challenge=NYKP4aX0wYyyWBOSFoRTm5zPRRoVZqHdO6JW1cv8U2g&code_challenge_me
                       thod=SHA-256)



                                                               26

                                                                                                                     Exhibit E-1
                                                                                                                   Page 26 of 46
                         Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 28 of 47

                                                           PerDiemCo LLC v. NexTraq.
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                             U.S. Patent No. 10,602,364
Claim        US Patent       Description of the Infringement
            10,602,364
 3-b    receiving an         See 3-p for the tracking service, mobile objects, event notifications, authorized users, mobile object locations, authorized
        authorization        user accounts, tracking application software, one or more computing devices, one or more servers, events, event,
        based on the first   locations of the mobile objects, and wireless location information sources (LISs).
        administrator ID
        to exercise the      See 3-a for the first computing device, first network of computing devices, request, first level of administrative privilege,
        first level of       first administrator, first administrative functions, and first administrator ID.
        administrative
        privilege, the       The NexTraq platform uses a second network of computing devices that includes servers of the on-premise data
        authorization        warehouse or AWS, which execute the Accused Applications. As a result, the Accused Applications access a database
        being received       (DB) maintained by an administrator of the on-premise data warehouse or AWS, which is a second administrator of the
        from a second        second network.
        computing
        device in a          An authorization is received in response to the request before a NexTraq (or the authenticated administrator employed
        second network       by NexTraq) exercises the first level of administrative privilege. The authorization is received from a second computing
        of computing         device in the on-premise data warehouse network or the AWS network before allowing the exercise of the first level of
        devices that         administrative privilege.
        includes the one
        or more servers,     In this way, NexTraq’s first level of administrative privilege includes a privilege to use one or more central or distributed
        which execute        control stations to control access to the authorized user accounts of the authorized users. As subscribers of the services
        the tracking         provided by the Accused Instrumentalities, the authorized users are employed by customers of NexTraq in different
        application          customer groups. These customer groups are identified in the on-premise data warehouse or the AWS database (DB)
        software by          by corresponding group IDs (GIDs), such as customer name. The GIDs are associated in the DB with object IDs that
        accessing a          identify the mobile objects in the groups.
        database (DB)        ---------------------------------------------------------------------------------------------------------------------------------------------
        maintained by a                                                      Groups identified by Group IDs (GIDs)
        second
        administrator of
        the second
        network that
        authorizes the
        request to
        exercise the first
                                                                                 27

                                                                                                                                                      Exhibit E-1
                                                                                                                                                    Page 27 of 46
                         Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 29 of 47

                                                           PerDiemCo LLC v. NexTraq.
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                             U.S. Patent No. 10,602,364
Claim       US Patent        Description of the Infringement
            10,602,364
        level of
        administrative,
        the first level of
        administrative
        privilege
        including a
        privilege to use-
        one or more
        central or
        distributed          (Source: Page No. 18 of http://www.alltrackusa.com/RTH_user_guide.pdf)
        control stations
        to control access
        to the authorized
        user accounts of
        the authorized
        users in different
        groups identified
        in the database
        by corresponding
        group IDs which
        are associated in    (Source: Page No. 199 of http://www.alltrackusa.com/RTH_user_guide.pdf)
        the DB with          -----------------------------------------------------------------------------------------------------------------------------------------------
        object IDs that      Mobile objects identified by object IDs are associated with groups identified by GIDs in the DB.
        identify the
        mobile objects in
        the groups;




                                                                                  28

                                                                                                                                                        Exhibit E-1
                                                                                                                                                      Page 28 of 46
                        Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 30 of 47

                                                          PerDiemCo LLC v. NexTraq.
                                        PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                            U.S. Patent No. 10,602,364
Claim      US Patent        Description of the Infringement
           10,602,364




                            (Source: Page No. 23 of http://www.alltrackusa.com/RTH_user_guide.pdf)
 3-c    using the first     See 3-p for the tracking service, mobile objects, object IDs, event notifications, authorized users, mobile object locations,
        level of            authorized user accounts, tracking application software, one or more computing devices, servers, events, event, locations
        administrative      of the mobile objects, and wireless location information sources (LISs), groups, group IDs.
        privilege to 1)
        identify a group    See 3-a for the first computing device, first network of computing devices, request, first level of administrative privilege,
        by a group ID       first administrator, first administrative functions, and first administrator ID.
        associated with
        the first           See 3-b for the authorization, second computing device, second network of computing devices, database (DB), second
        administrator ID    administrator, GIDs.
        in the database
        and 2) control      As the service provider, NexTraq’s first level of administrative privilege is used to identify its customers. Each customer
        access to a group   and its one or more employees is a group identified by a group ID, which is associated with the first administrator ID in
        administrator       the database. The customer or a user employed by the customer has a group administrator identified by a group
        account of a        administrator ID who has a group administrator account. NexTraq controls access to the group administrator account of
        group               the group administrator of each customer.
        administrator of
        the group who is                                                       Administrator Account
        identified by a
                                                                          29

                                                                                                                                       Exhibit E-1
                                                                                                                                     Page 29 of 46
                        Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 31 of 47

                                                         PerDiemCo LLC v. NexTraq.
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                           U.S. Patent No. 10,602,364
Claim        US Patent     Description of the Infringement
            10,602,364
        group
        administrator ID,
        wherein the
        group ID is       (Source: Page No. 168 of http://www.alltrackusa.com/RTH_user_guide.pdf)
        associated in the
        database with the
        group
        administrator ID,
        a first object ID (Source: Page No. 1 of https://www.nextraq.com/terms-and-conditions/ )
        of a first mobile
        object and a
        second object ID
        of a second
        mobile object in (Source: https://www.nextraq.com/terms-and-conditions/ )
        the group;



                           (Source: Page No. 203 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                                                                        30

                                                                                                       Exhibit E-1
                                                                                                     Page 30 of 46
                       Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 32 of 47

                                                         PerDiemCo LLC v. NexTraq.
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                           U.S. Patent No. 10,602,364
Claim     US Patent        Description of the Infringement
          10,602,364




                           (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                           (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)
 3-d    granting access    See 3-p for the tracking service, mobile objects, event notifications, authorized users, mobile object locations, authorized
        to the group       user accounts, tracking application software, one or more computing devices, one or more servers, events, event,
        administrator      locations of the mobile objects, and wireless location information sources (LISs).
        account based on
        the group          See 3-a for the first computing device, first network of computing devices, request, first level of administrative privilege,
        administrator ID   first administrator, first administrative functions, and first administrator ID.
                                                                         31

                                                                                                                                      Exhibit E-1
                                                                                                                                    Page 31 of 46
                            Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 33 of 47

                                                            PerDiemCo LLC v. NexTraq.
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                              U.S. Patent No. 10,602,364
Claim        US Patent        Description of the Infringement
            10,602,364
        before giving a
        second level of       See 3-b for the authorization, second computing device, second network of computing devices, database (DB), second
        administrative        administrator, groups identified, group IDs and object IDs.
        privilege to the
        group                 See 3-c for the group, group ID, group administrator account, group administrator, group administrator ID, first object
        administrator to      ID, first mobile object, second object ID, second mobile object.
        identify one or
        more authorized       After access is granted to the group administrator account based on the group administrator ID, a second level of
        users of the          administrative privilege is given to the group administrator to identify one or more authorized users of the group in the
        group in the          database, including a first authorized user having a first user account identified by a first user ID associated with the
        database              group ID.
        including a first                                              Second level of administrative privilege
        authorized user
        having a first
        user account
        identified by a
        first user ID
        associated with
                              (Source: Page No. 1 of https://www.nextraq.com/terms-and-conditions/ )
        the group ID




                              (Source: https://www.nextraq.com/terms-and-conditions/ )




                                                                            32

                                                                                                                                      Exhibit E-1
                                                                                                                                    Page 32 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 34 of 47

                                                     PerDiemCo LLC v. NexTraq.
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,602,364
Claim   US Patent      Description of the Infringement
        10,602,364




                       (Source: Page No. 207 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 18 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                                                                    33

                                                                                                   Exhibit E-1
                                                                                                 Page 33 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 35 of 47

                                                     PerDiemCo LLC v. NexTraq.
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,602,364
Claim   US Patent      Description of the Infringement
        10,602,364




                       (Source: Page No. 168 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                       ---------------------------------------------------------------------------------------------------------------------------------------------
                       A first authorized user having a first user account identified by a first user ID associated with the group ID is identified.




                                                                           34

                                                                                                                                                Exhibit E-1
                                                                                                                                              Page 34 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 36 of 47

                                                     PerDiemCo LLC v. NexTraq.
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,602,364
Claim   US Patent      Description of the Infringement
        10,602,364




                       (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                                                                    35

                                                                                                   Exhibit E-1
                                                                                                 Page 35 of 46
                        Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 37 of 47

                                                          PerDiemCo LLC v. NexTraq.
                                        PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                            U.S. Patent No. 10,602,364
Claim      US Patent        Description of the Infringement
           10,602,364




                            (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                            (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)
 3-e    granting access     See 3-p for the tracking service, mobile objects, event notifications, authorized users, mobile object locations, authorized
        to the first user   user accounts, tracking application software, one or more computing devices, one or more servers, events, event,
        account based on    locations of the mobile objects, and wireless location information sources (LISs).
        the first user ID
        before receiving    See 3-a for the first computing device, first network of computing devices, request, first level of administrative privilege,
        1) an event         first administrator, first administrative functions, and first administrator ID.
        condition for
        occurrence of a     See 3-b for the authorization, second computing device, second network of computing devices, database (DB), second
        group event that    administrator, groups identified, group IDs and object IDs.
        is met based on a
        boundary and        See 3-c for the group, group ID, group administrator account, group administrator, group administrator ID, first object
        locations of the    ID, first mobile object, second object ID, second mobile object.
                                                                          36

                                                                                                                                       Exhibit E-1
                                                                                                                                     Page 36 of 46
                             Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 38 of 47

                                                             PerDiemCo LLC v. NexTraq.
                                           PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                               U.S. Patent No. 10,602,364
Claim        US Patent         Description of the Infringement
            10,602,364
        first mobile
        object and the         See 3-d for the second level of administrative privilege, one or more authorized users, first authorized user, first user
        second mobile          account, and first user ID.
        object and 2) an
        access list that       Access is granted to the first user account based on the first user ID.
        identifies one or                                                  Access to authorized user accounts
        more recipients
        of an event
        notification after
        the group event
        occurs; and




                               (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                                                                            37

                                                                                                                                       Exhibit E-1
                                                                                                                                     Page 37 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 39 of 47

                                                     PerDiemCo LLC v. NexTraq.
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,602,364
Claim   US Patent      Description of the Infringement
        10,602,364




                       (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                       ---------------------------------------------------------------------------------------------------------------------------------------------
                       An event condition, such as arrival / departure, is received for occurrence of a group event that is met based on a boundary
                       and locations of the first mobile object and the second mobile object.
                                                                                     Event Condition


                                                                           38

                                                                                                                                                Exhibit E-1
                                                                                                                                              Page 38 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 40 of 47

                                                     PerDiemCo LLC v. NexTraq.
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,602,364
Claim   US Patent      Description of the Infringement
        10,602,364




                       (Source: Page No. 1 of https://www.nextraq.com/services/geofencing-mapping/)




                       (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                       ---------------------------------------------------------------------------------------------------------------------------------------------
                       Also received is an access list that identifies one or more recipients of alerts after the group event occurs.
                                                                                        Access List




                                                                            39

                                                                                                                                                  Exhibit E-1
                                                                                                                                                Page 39 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 41 of 47

                                                     PerDiemCo LLC v. NexTraq.
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,602,364
Claim   US Patent      Description of the Infringement
        10,602,364




                       (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




                       (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                                                                    40

                                                                                                                             Exhibit E-1
                                                                                                                           Page 40 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 42 of 47

                                                     PerDiemCo LLC v. NexTraq.
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,602,364
Claim   US Patent      Description of the Infringement
        10,602,364




                       (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)



                                                                   41

                                                                                                                             Exhibit E-1
                                                                                                                           Page 41 of 46
                            Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 43 of 47

                                                            PerDiemCo LLC v. NexTraq.
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                              U.S. Patent No. 10,602,364
Claim      US Patent          Description of the Infringement
           10,602,364




                              (Source: Page No. 149 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                              The access list that identifies one or more users who are privileged to be recipients of a notification information, i.e.,
                              alert, when the group event occurs.
 3-f.   conveying the         See 3-p for the tracking service, mobile objects, event notifications, authorized users, mobile object locations, authorized
        event                 user accounts, tracking application software, one or more computing devices, one or more servers, events, event,
        notifications         locations of the mobile objects, and wireless location information sources (LISs).
        only to the one
        or more               See 3-a for the first computing device, first network of computing devices, request, first level of administrative privilege,
        recipients on the     first administrator, first administrative functions, and first administrator ID.
        access list after
        determining that      See 3-b for the authorization, second computing device, second network of computing devices, database (DB), second
        the event             administrator, groups identified, group IDs and object IDs.
        condition is met.

                                                                            42

                                                                                                                                         Exhibit E-1
                                                                                                                                       Page 42 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 44 of 47

                                                     PerDiemCo LLC v. NexTraq.
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,602,364
Claim   US Patent      Description of the Infringement
        10,602,364
                       See 3-c for the group, group ID, group administrator account, group administrator, group administrator ID, first object
                       ID, first mobile object, second object ID, second mobile object.

                       See 3-d for the second level of administrative privilege, one or more authorized users, first authorized user, first user
                       account, and first user ID.

                       See 3-e for an event condition, group event, boundary and access list.

                       For example, the access list can identify fleet managers. In this way, alerts are sent only to the one or more recipients
                       on the access list after determining that the event condition is met.




                       (Source: Page No. 1 of https://www.nextraq.com/services/real-time-alerts/ )




                       (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




                                                                      43

                                                                                                                               Exhibit E-1
                                                                                                                             Page 43 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 45 of 47

                                                     PerDiemCo LLC v. NexTraq.
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,602,364
Claim   US Patent      Description of the Infringement
        10,602,364




                       (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                                                                    44

                                                                                                   Exhibit E-1
                                                                                                 Page 44 of 46
                     Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 46 of 47

                                                     PerDiemCo LLC v. NexTraq.
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 10,602,364
Claim   US Patent      Description of the Infringement
        10,602,364




                       (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)



                                                                   45

                                                                                                                             Exhibit E-1
                                                                                                                           Page 45 of 46
                            Case 1:23-mi-99999-UNA Document 124-10 Filed 01/13/23 Page 47 of 47

                                                           PerDiemCo LLC v. NexTraq.
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                             U.S. Patent No. 10,602,364
 Claim      US Patent        Description of the Infringement
            10,602,364




                             (Source: Page No. 149 of http://www.alltrackusa.com/RTH_user_guide.pdf)

Caveat: The notes and/or cited excerpts utilized herein are set forth for illustrative purposes only and are not meant to be limiting in any manner.
For example, the notes and/or cited excerpts, may or may not be supplemented or substituted with different excerpt(s) of the relevant reference(s), as
appropriate. Further, to the extent any error(s) and/or omission(s) exist herein, all rights are reservedss to correct the same.




                                                                          46

                                                                                                                                       Exhibit E-1
                                                                                                                                     Page 46 of 46
